Case 1:18-cv-02192-HG-PK   Document 86-37   Filed 04/04/22   Page 1 of 2 PageID #:
                                    2351




                     Exhibit 37
                      Case 1:18-cv-02192-HG-PK    Document 86-37   Filed 04/04/22   Page 2 of 2 PageID #:
                                                           2352




Total Amount:
                                         Banking Information

                                                 $153,435
                                                                                        Halima Hasan
Transfer Details:                          6 Transfers                                     Yassin
                                     November 2000 – May 2001
Arab Bank Branch:                                     Gaza
Account Number:                                244139510
Beneficiary:                     Haleemah Hasan Yassin (“Yasine”)
                                         General Information
Personal Details:       •   Married Ahmad Yassin in 1963
                        •   Widowed in 2004

Current Status:             Lives in the Gaza Strip
Terrorist Activity:         Not applicable
Imprisonment:               Not applicable
HAMAS Da'wa                 Not applicable
Activity:
